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EXHIBIT E

 
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October 21, 2013

 
 

‘Amber "Bele Ea Rachel Ter ensen, Ese,

Zeldés Haeggquist & Eck, LLP Robbins Geller Rudman & Dewd LLP
625 Broadway, Suite 1000 655 W Broadway Suite 1900

San Diego, CA 92101 San Diego, CA 92101

Re: Makaeff, et al.v. Trump University, LLC, at al.

   

Dear Ms. Eck & Ms. Jensen:

We have received a: copy of the new class-action complaint, Cohen v. Donald. J. Trump, Case No.
13 €V2519 DMS. RBBB, filed by your law firms on Friday; Oetober 18, 2013. Please be advised
that in light of this new filing we will not be going forward with the depositions 0; le
Martin, scheduled on October'23, 2013, and Steye Goff, scheduled on: October 28, 5. Wh
you have noticed these depositions under the guise of needitig them for purposes of obtainir g
discovery in the Adakae/f' action (the necessity of which eludes us at this juncture betatise
briefing oti the class certification issue is closed and any introduction of additional evidence at
this time is improper), it is clear that you will be using these depositions to obtain-early. discovery
to be used in the Cohen case. We will not allow this circumvention of the rules.

     
  

Additionally, as: we previously informed you, we ate. utiavailable for the deposition of James
Harris, scheduled to occur in Atlanta on October 25, 2013, While it is our understanding that
Mr. Harris believes he was not properly served with the subpoena and therefore will not be
appearing, if he does: appear and you choose to go forward, we will move to exclude all
testimony obtained on the grounds that you unilaterally set the deposition date without
conferring with us about our availability i in violation of local rules, we advised you of out
inability to attend, and you refused to accommodate our request, While we. understand your
difficulties in communicating ‘with Mr. Harris, this does not excuse your violation of the rules

 

 

and allow-you to take his deposition.on.a date when counsel for defendants cannot be present.

Additionally, as with Mr, Martin’s and Mr. Goff’s depositions, due to the filing of the Cohen
eeding with Mr. Hattis’ deposition is improper:

 

c/o Truinp National Golf Club Las Angeles, One Ocean Trails Drive, Rancho Palos Verdes; California:90275
rel: 310 303°3225 fax. 310.265 5522 jmartin@erunipnational-coni
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Atiber Bok, Esq,
Rachel Jensen, Esq.
October 21, 2013
Pape 2

Sill A, Martin

 
   
   

  

ce: David Sehneider (via-email)

c/o Trarap National Golf Club‘Los Angeles, One Océun Tails Drive, Ravichis Palos Verdes, California 90275.
zel.310 303 3225. fax: $10.265:5522 jmartin@tumpnational.com
